   

Case 1:18-cv-01654-.]E.]-Kl\/| Do _r;n 881 _l..:`i|ed 09`/12/18 Page 1011

Federa| District Court
Middle District
Commonwea|th of Pennsy|vania

Joshua A Monighan

vs case No. 1:18-01654

' w

Tom Wolf
Affidavit no appearance form

'- Before me, the undersigned notary public, this day, personally appeared Joshua A

l\/lonighan, to me known, Who'being'duly sworn according to laW, deposes the fo_llowing:

l hereby affirm as of Septernber 11 2018 in relation to Caption, I have checked rny mail '

box, l have not received any correspondence that Wod|d show an attorney of record. or

an entry of appearance form form any attorney representing Tom Wo|'i in this case.

Joshua A l\/lonighan Taxpayer
6363 Basehore Rd
|\/iechanicsburg PA17050
1717319 8014

, jmonighan@gmai|.com

 

SWQ{n and Sutzscribed Thi,s _l 7- day of

S@Ql-€M.'>¢¢f _ 2018 in the Commonwealth of Pennsylvania Coum;y of

Cumberland

 

